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                UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

JOSEPH G. WOOD,
Inmate No. 894702,
      Plaintiff,
vs.                                             Case No.: 3:20cv5492/MCR/EMT

MARSHA NICHOLS, et al.,
    Defendants.
                              /

                                     ORDER

      The Chief Magistrate Judge issued a Report and Recommendation on August

31, 2021 (ECF No. 45). The parties were furnished a copy of the Report and

Recommendation and afforded an opportunity to file objections pursuant to Title 28,

United States Code, Section 636(b)(1). I have made a de novo determination of all

timely filed objections. See ECF No. 48.

      Having considered the Report and Recommendation, and the timely filed

objections thereto, I have determined the Report and Recommendation should be

adopted.

      Accordingly, it is now ORDERED as follows:

      1.     The Chief Magistrate Judge’s Report and Recommendation (ECF No.

45) is adopted and incorporated by reference in this order.
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       2.     Defendants’ motion for summary judgment (ECF No. 36) is

GRANTED.

       3.     All pending motions are DENIED as moot.

       4.     The clerk of court is directed to enter judgment in accordance with this

order and close the case.

       DONE AND ORDERED this 30th day of September, 2021.



                                 M. Casey Rodgers
                                 M. CASEY RODGERS
                                 UNITED STATES DISTRICT JUDGE




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